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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS



ELIZABETH AGUILERA, individually and
on behalf of herself and all others similarly
situated,
                       Plaintiff,
                                                        Case No. 1:18-cv-03550
               v.
                                                        Hon. Edmond Chang
NuWave, LLC

                       Defendant.




                     NOTICE OF SERVICE OF
  PLAINTIFF’S MANDATORY INITIAL DISCLOSURES OF ELECTRONICALLY
 STORED INFORMATION AS TO MERITS OF NAMED PLAINTIFF’S INDIVIDUAL
                        WARRANTY CLAIM

       The undersigned, Melissa S. Weiner, hereby certifies that she caused a true and correct

copy of Plaintiff Elizabeth Aguilera’s Mandatory Initial Disclosures of Electronically Stored

Information as to the merits of Named Plaintiff’s Individual Warranty Claim via electronic mail

on Thursday, October 4, 2018, to the parties on the attached service list.

Dated: October 4, 2018                                Respectfully submitted,

                                                         /s/Melissa S. Weiner
                                                      By: /s/ Melissa S. Weiner
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                                     SERVICE LIST

                               Aguilera v. NuWave, LLC
                                    1:18-cv-03550

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